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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                 )
    UNITED STATES OF AMERICA                     )
                                                 )
    v.                                           )
                                                 )       Criminal Case No. 22-cr-00007-LKG
    MARILYN J. MOSBY,                            )
                                                 )       Dated: July 5, 2022
          Defendant.                             )
                                                 )

                                               ORDER
         Through counsel, the Defendant in the above-captioned criminal matter has made an ex
parte request for Criminal Justice Act (“CJA”) funding for services other than counsel, pursuant
to the Criminal Justice Act Plan for the District of Maryland (the “CJA Plan”) and 18 U.S.C. §
3006A(e)(1).1 An objective of the CJA Plan is to attain the goal of equal justice under the law
for all persons. See CJA Plan at 4. And so, the CJA Plan for this District is administered to
ensure that those accused of a crime, or otherwise eligible for services under the CJA, will not be
deprived of the right to counsel, or any element of representation necessary to an effective
defense, due to lack of financial resources. See id.

         Pursuant to the CJA Plan, counsel for a defendant who is financially unable to obtain
expert services necessary for an adequate defense may request such services in an ex parte
application to the Court, regardless of whether counsel is appointed under the CJA. 18 U.S.C. §
3006A(e)(1). Upon a finding by the Court that the requested services are necessary, and that the
defendant is financially unable to obtain these services, the Court must authorize counsel to
obtain the services. See CJA Plan at 22.

         The Court has determined that the expert services requested by the Defendant in this case
are necessary, and that the Defendant is financially unable to obtain these services at this time to
adequately prepare for trial. The Court has also determined that the Defendant has sufficient



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 The Government has charged the Defendant with two counts of perjury, in violation of 18 U.S.C. § 1621
and 28 U.S.C. § 1746, and two counts of making false statements on a loan application, in violation of 18
U.S.C. § 1014. See generally Superseding Indictment, ECF No. 25.
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financial resources at this time to contribute towards the funds authorized by the Court to provide
the aforementioned services. See 18 U.S.C. § 3006A(e)(1).2

        And so, for the foregoing reasons, the Court:

        1. DIRECTS the Defendant to reimburse the Court by making periodic payments to the
            Office of the Clerk of the Court in an amount to be determined by the Court (the
            “Reimbursement Payments”); and

        2. ORDERS the Defendant to advise the Court of her ability to make the
            Reimbursement Payments, on or before August 5, 2022, and every 30 days thereafter.

        IT IS SO ORDERED.



                                                      s/ Lydia Kay Griggsby
                                                      LYDIA KAY GRIGGSBY
                                                      United States District Judge




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  The Guide to Judiciary Policy provides that “[a]ny doubts as to a person’s eligibility should be resolved
in the person’s favor; erroneous determinations of eligibility may be corrected at a later time.” See Guide
to Judiciary Policy, Vol. 7A, Ch. 2, § 210.40.30(b). The Guide to Judiciary Policy also provides that,
“[i]f a person’s net financial resources and income anticipated prior to trial are in excess of the amount
needed to provide the person and that person’s dependents with the necessities of life and to provide the
defendant’s release on bond, but are insufficient to pay fully for retained counsel, the judicial officer
should find the person eligible for the appointment of counsel under the CJA and should direct the person
to pay the available excess funds to the clerk of the court at the time of such appointment or from time to
time after that.” Id. at § 210.40.40.


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